                             IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE
                                        CRIMINAL MINUTES:                 Sentencing

USA v            JEREMY MICHAEL WILSON                                       Date:           01/10/18

Case No.          CR-2-17-12(19)                          Time        10:04 a.m. To             11:31 a.m.


                 Honorable J. RONNIE GREER, U.S. District Judge, Presiding

       Kathy Hopson                            Karen Bradley
       Deputy Clerk                            Court Reporter
======================================================================
       Aaron Chapman                         Greg Bowman
     Defendant's Attorney                     Asst. U.S. Attorney
PROCEEDINGS:

Deft given opportunity to speak - accepts

Court Pronounces Judgment

It is the judgment of the Court on Count One, the defendant, Jeremy Michael Wilson, is hereby committed to the custody of
the Bureau of Prisons to be imprisoned for a term of 72 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five (5) years.

$100.00 Assessment

Fine is waived

CONDITIONS OF SUPERVISED RELEASE:

[X] 13 standard conditions
[X] no firearms , no ammunition, no destructive devices, or any other dangerous weapon
[X] no illegal drugs
[X] cooperate w/the collection of DNA as directed
[X] participate in a drug and/or alcohol abuse treatment program as directed by USPO
[X] participate in a mental health program as directed by USPO
[X] You shall submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. § 1030(e)(1)),
other electronic communications or data storage devices or media,] or office, to a search conducted by a United States probation
officer or designee.
 [X] other: If not obtained while in the custody of the Bureau of Prisons, the defendant shall obtain a General Educational
 Development Degree. The defendant shall not take any prescribed narcotic drug without notifying the physician that the defendant
 has a substance abuse problem and without obtaining permission from the probation officer.



RECOMMENDATIONS:

[X] that defendant be given credit for time served since 3/29/17
[X] other 500 hours of substance abuse treatment from the Bureau of Prisons’ Institution Residential Drug Abuse
Treatment Program / receive a complete mental health evaluation with appropriate treatment / designation to a BOP federal
facility as close to his home in Sullivan County, Tennessee which has the Residential Drug Abuse Treatment Program.
[X] Placed in custody of U.S. Marshal




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